         Case 22-60043 Document 249 Filed in TXSB on 10/24/22 Page 1 of 5




                IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION

IN RE:                                    §            Case No. 22-60043
                                          §
FREE SPEECH SYSTEMS, LLC,                 §            Chapter 11 (Subchapter V)
                                          §
      Debtor.                             §

                           SANDY HOOK FAMILIES’
                          WITNESS AND EXHIBIT LIST

 Judge                  Hon. Christopher M. Lopez
 Hearing Date           Wednesday, October 26, 2022
 Hearing Time           1:00 p.m. (CST)
 Party’s Name           Sandy Hook Families
 Attorney’s Names       Ryan Chapple (Connecticut Plaintiffs)
                        Avi Moshenberg, Jarrod Martin (Texas Plaintiffs)
 Attorney’s Phone       512-477-5000 (Ryan Chapple)
                        713-337-5580 (Avi Moshenberg)
                        713-356-1280 (Jarrod Martin)
 Nature of Proceeding   Cash Collateral Motion [Dkt. 6]

      Neil Heslin, Scarlett Lewis, Leonard Pozner, Veronique De La Rosa, and Marcel

Fontaine (collectively, the “Texas Plaintiffs”) and David Wheeler, Francine Wheeler,

Jacqueline Barden, Mark Barden, Nicole Hockley, Ian Hockley, Jennifer Hensel, Donna

Soto, Carlee Soto Parisi, Carlos M. Soto, Jillian Soto-Marino, William Aldenberg, William

Sherlach, and Robert Parker (collectively, the “Connecticut Plaintiffs” and together, the

“Sandy Hook Families”) hereby submit this Witness and Exhibit List in connection with

the hearing on (i) Debtor’s Emergency Motion for an Interim and Final Orders

(I) Authorizing the Use of Cash Collateral Pursuant to Sections 105, 361, and 363 of the

Bankruptcy Code and Federal Rule of Bankruptcy Procedure 4001(B) and (II) Granting

Adequate Protection to the Pre-Petition Secured Lender (the “Cash Collateral Motion”)




SANDY HOOK FAMILIES’ WITNESS AND EXHIBIT LIST—PAGE 1
         Case 22-60043 Document 249 Filed in TXSB on 10/24/22 Page 2 of 5




[Dkt. 6]; to be held on Wednesday, October 26, 2022 at 1:00 p.m. (Central Standard

Time):

         The Sandy Hook Families reserve the right to supplement, amend, or revise this

Witness and Exhibit List at any time prior to the hearing. The Sandy Hook Families

reserve the right to supplement the Witness and Exhibit List with new witnesses and

additional exhibits. Further, the Sandy Hook Families reserve the right to use any

exhibits presented by any other party and to ask the Court to take judicial notice of any

document. The Sandy Hook Families further reserve the right to introduce exhibits

previously admitted.

                                           WITNESS LIST

         The Sandy Hook Families may call the following witnesses at the hearing:
   1. Patrick Magill, Chief Restructuring Officer of Debtor;
   2. W. Marc Schwartz, former proposed Chief Restructuring Officer of Debtor;
   3. Robert Roe, PQPR Holdings Limited, LLC corporate representative;
   4. David Jones, managing member of JLJR Holdings, LLC, which is the managing
      member of PQPR Holdings Limited, LLC;
   5. Any witness necessary to rebut the testimony of any witness called or designated
      by any other parties;
   6. Any witness listed or called by any other party.

                                           EXHIBIT LIST

         The Sandy Hook Families may offer for admission into evidence any of the

following exhibits at the hearing:

                                                              Admitted/    Disposition
 No.              Description               Offered Objection   Not
                                                              Admitted
  1.     Debtor’s Emergency Motion for
         an Interim and Final Orders
         (I) Authorizing the Use of Cash
         Collateral Pursuant to Sections
         105, 361, and 363 of the




SANDY HOOK FAMILIES’ WITNESS AND EXHIBIT LIST—PAGE 2
       Case 22-60043 Document 249 Filed in TXSB on 10/24/22 Page 3 of 5




       Bankruptcy Code and Federal
       Rule of Bankruptcy Procedure
       4001(b) and (II) Granting
       Adequate Protection to the Pre-
       Petition Secured Lender
       [Dkt. 6]

  2.   Declaration of W. Marc
       Schwartz in Support of
       Voluntary Petition and First
       Day Motions [Dkt. 10]

  3.   Interim Order Authorizing
       Debtor’s Use of Cash Collateral
       and Providing Partial Adequate
       Protection [Dkt. 41]

  4.   Order Modifying Interim Order
       Authorizing Debtor’s Use of
       Cash Collateral and Providing
       Partial Adequate Protection
       [Dkt. 64]

  5.   Second Interim Order
       Authorizing Debtor’s Use of
       Cash Collateral and Providing
       Partial Adequate Protection
       [Dkt. 98]

  6.   Third Interim Order
       Authorizing Debtor’s Use of
       Cash Collateral and Providing
       Partial Adequate Protection
       [Dkt. 151]

  7.   Fourth Interim Order
       Authorizing Debtor’s Use of
       Cash Collateral and Providing
       Partial Adequate Protection
       [Dkt. 238]

       Any document or pleading filed
       in the above-captioned case

       Any exhibits identified or
       offered by any other party

       Any exhibits necessary for
       impeachment and/or rebuttal
       purposes




SANDY HOOK FAMILIES’ WITNESS AND EXHIBIT LIST—PAGE 3
      Case 22-60043 Document 249 Filed in TXSB on 10/24/22 Page 4 of 5




      Respectfully submitted this 24th day of October 2022.

                                       MCDOWELL HETHERINGTON LLP

                                       Avi Moshenberg
                                       Texas Bar No. 24083532
                                       1001 Fannin Street, Suite 2700
                                       Houston, Texas 77002
                                       D: 713-337-5580
                                       F: 713-337-8850
                                       E: Avi.Moshenberg@mhllp.com

                                       Counsel for the Texas Plaintiffs

                                       and

                                       CHAMBERLAIN, HRDLICKA, WHITE,
                                          WILLIAMS & AUGHTRY, PC

                                       By: /s/Jarrod B. Martin
                                       Jarrod B. Martin
                                       Texas Bar No. 24070221
                                       1200 Smith Street, Suite 1400
                                       Houston, Texas 77002
                                       D: 713.356.1280
                                       F: 713.658.2553
                                       E: jarrod.martin@chamberlainlaw.com

                                       Bankruptcy Counsel for the Texas
                                       Plaintiffs

                                       By: /s/ Ryan Chapple
                                       Ryan E. Chapple
                                       State Bar No. 24036354
                                       Email: rchapple@cstrial.com
                                       CAIN & SKARNULIS PLLC
                                       303 Colorado Street, Suite 2850
                                       Austin, Texas 78701
                                       512-477-5000
                                       512-477-5011—Facsimile

                                       Bankruptcy Counsel for Connecticut
                                       Plaintiffs




SANDY HOOK FAMILIES’ WITNESS AND EXHIBIT LIST—PAGE 4
       Case 22-60043 Document 249 Filed in TXSB on 10/24/22 Page 5 of 5




                             CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing Witness and Exhibit
List has been served on counsel for Debtor, Debtor, and all parties receiving or entitled to
notice through CM/ECF on this 24th day of October 2022.


                                          /s/ Ryan E. Chapple
                                          Ryan E. Chapple




SANDY HOOK FAMILIES’ WITNESS AND EXHIBIT LIST—PAGE 5
